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JW HOWARD/ ATTORNEYS, LTD.




                                                     12   NAOMI WOLF
                       SAN DIEGO, CALIFORNIA 92101
                         701 B STREET, SUITE 1725




                                                     13

                                                     14                             UNITED STATES DISTRICT COURT
                                                     15                       NORTHERN DISTRICT OF CALIFORNIA
                                                     16

                                                     17   DONALD J. TRUMP, et al.,                     Case No. 3:21-cv-08378-JD
                                                     18                Plaintiffs,                     Hon. James Donato
                                                     19         vs.
                                                                                                       SECOND SUPPLEMENTAL
                                                     20   TWITTER, INC., et al.,                       DECLARATION OF SCOTT J.
                                                                                                       STREET IN SUPPORT OF
                                                     21                Defendants.                     PLAINTIFF DR. NAOMI WOLF’S
                                                                                                       MOTION FOR INDICATIVE
                                                     22                                                RULING UNDER FED. R. CIV. P. 60
                                                                                                       BASED ON NEWLY DISCOVERED
                                                     23                                                EVIDENCE
                                                     24

                                                     25                                                Action Filed: July 7, 2021
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                                                           SECOND SUPPL. DECLARATION OF SCOTT J. STREET                    CASE NO. 20-CV-09300-AGT
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                                                      1        SECOND SUPPLEMENTAL DECLARATION OF SCOTT J. STREET
                                                      2          I, Scott J. Street, declare as follows:
                                                      3          1.     I am an attorney duly licensed to practice before all courts in the state of
                                                      4   California and before this Court. I am of counsel with the law firm JW
                                                      5   Howard/Attorneys, Ltd., counsel of record to Plaintiff Dr. Naomi Wolf in this matter.
                                                      6   I have personal knowledge of the facts set forth in this declaration and could testify
                                                      7   competently to them if called to do so.
                                                      8          2.     On August 26, 2022, Dr. Wolf filed a motion for an indicative ruling,
                                                      9   asking whether this Court would entertain Dr. Wolf’s motion for relief from the
                                                     10   judgment of dismissal pursuant to Rule 60 of the Federal Rules of Civil Procedure
                                                     11   based on newly discovered evidence. Some of the evidence that Dr. Wolf’s Rule 60
JW HOWARD/ ATTORNEYS, LTD.




                                                     12   motion would be based on was included with the declaration I submitted with the
                       SAN DIEGO, CALIFORNIA 92101
                         701 B STREET, SUITE 1725




                                                     13   motion for an indicative ruling. The evidence included an email that showed how the
                                                     14   Centers for Disease Control flagged one of Dr. Wolf’s tweets as alleged
                                                     15   “misinformation”; Twitter blocked the tweet shortly after receiving the CDC’s email.
                                                     16   That email was attached as Exhibit A to my previous declaration.
                                                     17          3.     Since filing the motion for an indicative ruling, I have obtained more
                                                     18   evidence of the explicit coordination between Twitter and executive branch officials
                                                     19   which supports Dr. Wolf’s argument that Twitter should be held liable for violating
                                                     20   her First Amendment rights under the state action doctrine. This evidence was
                                                     21   disclosed in a joint filing in the case State of Missouri ex rel. Schmitt et al. v. Biden et
                                                     22   al., U.S. District Court Case No. 3:22-cv-01213-TAD-KDM (the “State AG Case”),
                                                     23   which is pending in the Western District of Louisiana. I submitted a supplemental
                                                     24   declaration in September providing some of these documents, which were not
                                                     25   disclosed publicly until August 31, 2022, and thus could not have been included in my
                                                     26   first declaration.
                                                     27          4.     Since then, even more documents have been released from the State AG
                                                     28
                                                                                                      2
                                                           SECOND SUPPL. DECLARATION OF SCOTT J. STREET                        CASE NO. 20-CV-09300-AGT
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 1   case that show the depth of coordination between Twitter and the executive branch of
 2   the federal government about identifying and censoring information the government
 3   deemed "misinformation," "disinformation" or "malinformation." For example, the
 4   State AG Case has uncovered evidence of a Cybersecurity Advisory Committee
 5   within the Department of Homeland Security that one ofTwitter's top executives
 6   belonged to. A true and correct copy of the minutes from a meeting of this committee
 7   that occurred on June 14, 2022, which I obtained from the docket in the State AG
 8   Case, is attached as Exhibit "A."
 9         5.     A true and correct copy of the minutes from a meeting of this advisory
1O committee that occurred on March 1, 2022, which I obtained from the docket in the
11   State AG Case, is attached as Exhibit "B."
12         6.     The documents attached as Exhibits A and B were not filed publicly
13   until October 6, 2022, and I did not become aware of them until recently. Thus, they
14   could not have been filed with my earlier declarations, although they bear on the
15   issues raised in Dr. Wolfs motion for an indicative ruling under Rule 60.
16         Under penalty of perjury, under the laws of the United States of America, I
17   declare that the foregoing is true and correct. Executed this 3rd day of November 2022
18   at Pasadena, California.
19

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      SECOND SUPPL. DECLARATION OF SCOTT J. STREET                   CASE NO. 20-CV-09300-AGT
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                     EXHIBIT "A"
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    Protecting Critical Infrastructure from Misinformation & Disinformation Subcommittee
    Meeting
    June 14, 2022

    Purpose of Meeting
•   The purpose of the CISA Cybersecurity Advisory Committee (CSAC) Protecting Critical Infrastructure from
    Misinformation & Disinformation (MOM) Subcommittee meeting was to discuss developments from recent
    conversations with Maricopa County, Arizona elections officials and review strategy for the CSAC June Quarterly
    Meeting.


    Discussion
•                           Alternate Designated Federal Officer (ADF0) for the MOM Subcommittee, brought the
    meeting to order and turned the call over to -

•                                                                                University of Washington, MOM
    Subcommittee Chair, thanked the members for joining. She noted this time is dedicated to discussing the final
    recommendations to present for vote at the CSAC June Quarterly Meeting and share ideas of next steps for the
    Subcommittee.

•                 hared takeaways from her conversation with
                      and past briefer. She obtained permiss1on from                                                  is-,
    and ma I-information is my day job. Running elections is my night job .. in                  e's recommendations
    for the CSAC June Quarterly Meeting. Subcommittee members affirmed                         uggestion of adding the
    quote in the recommendations and stated that it was Important to motivate the recommendations.
    -              Illinois Erner ency Management Agency, commented that the quote speaks to the heart of the
    recommendations.                  ook for action to incorporate the quote into the draft recommendations and
    return the updated draft to                  by Wednesday, June 15.

•   - r e v i e w e d her conversation with                          Columbia Law Professor, to socialize the existence
    of the subcommittee and their taskings.

                o - s h a r e d that-ntends to reach out to civil liberties groups t o help socialize the
                  existence of the subcommittee followin the CSAC June uarterl Meeting. He recommended that
                  the group contac                                                      f the Brennan Center. He
                  provided recommendations to                on how the group could best speak to their tasking
                  questions related to surveillance and monitoring. -ecommended that the group contact
                  the two i n d i ~ July meeting as they discuss issues of surveillance and
                  monitoring. - - - - L e g a l , Public Policy, and Trust and Safety Lead, Twitter, affirmed
                  this course of action.
                o - o l i c i t e d additional recommendations for future briefers.-ecommended
                  that the group hear from the Electronic Frontier Foundation.


    CSAC MDM Subcommittee                           June 1.4, 2022                                                       1.




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•   - a d d e d that                       colleague,                  suggested that the subcommittee explore the
    idea of how CISA could develop a rapid response team to deploy virtually or in-person to local election officials'
    jurisdictions struggling with specific informational threats. The support would include checking equipment to
    verify if a breach is present or not, determining how to communicate the existence of a breach, and determining
    how to target certain kinds of communication.

                o                     clarified if this rapid response team would only act in the context of M DM
                    threats.             noted that the response team would require a broader range of expertise, as
                    they first must be able to verify whether a real threat exists, then be able to communicate the
                    existence of an MOM threat.
                o   Mr. Geoff Hale, CISA, commented that this is a fascinating idea that takes CISA's existing
                    operational responsibilities to consider MOM as part of its core mission set. He noted that this
                    would be an evolution of CISA's current defensive posture. - a g r e e d with this framing of

                0
                    ~            -
                    . . . . . .commented       that the rapid response team would need to surge for short periods of
                    time around elections. She suggested the subcommittee consider the requirements for the
                    team's expandability, ability to conduct media analysis, and the level of understanding on MDM in
                    a communications context.
                o   Mr. Hale noted the possibility to stand up this team in the short term by encouraging the
                    communications team to consider MDM equities.-ook for action to discuss how CISA
                    could stand up a rapid response team during the CSAC June Quarterly Meeting.
                o   Ms. Kim Wyman, Senior Elections Official, CISA, stressed that election officials across the country
                    are struggling most with MOM threats and physical security. She encouraged the subcommittee
                    to lean into their work and their recommendations and noted that the group was selected by the
                    Director for a reason.
                         • _ , o t e d that physical and MOM-related threats are often interrelated, so tt1e
                             group cannot address the physical threats against elections officials without addressing
                            the root cause of MOM-related threats. She continued by stressing that MOM threat exist
                            with or without a cyber component. She noted that the idea of a rapid response team
                            must include the ability to engage whether or not a cyber component is present.
                         • . . . . . .agreed with                    oint that threats to critical infrastructure are not
                             limited to cyber threats.

•   Subcommittee members d ~ m s to raise during the CSAC June Quarterly Meeting. -
    -noted that she and - - - - S e n i o r Advisor for Homeland Security and Director of the
    Defending Democratic Institutions Center for Strategic and International Studies (CSIS), will be dialing in virtually
    for both the closed and open sessions.

•   Mr. Hale updated the subcommittee that CISA Is working to determine b e ~ o r socializing the existence
    of the subcommittee and the proposed recommendations with Congress. . . . . . .eflected on a recent
    conversation wlt11 CSAC Chair,                 and noted that she intends to determine a strategy witn ot11er
    CSAC Members during the closed session.

•   Subcommittee members took for action to notify the CSAC Team whether they prefer to meet on Wednesday, July
    20 or Tuesday, July 26from 11:00a.m. to 12:00 p.m. ET.-noted that she will be on vacation during
    both times but encouraged the subcommittee to meet.
    CSAC MDM Subcommittee                           June 14, 2022                                                       2




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•                  ·oined the meeting and updated the subcommittee on her recent conversation with -
             eorge Mason Law Professor. where she described the subcommittee's tasking and the purpose of the
    draft recommendations for CISA to point individuals to resources on election topics.

               o                   shared that~ncouraged the subcommittee to discuss their work in the
                   context not that CISA is dealing with disinformation by deciding what is true and pointing people
                   to resources, but that CISA has a mission to ensure National Critical Functions are secure and
                   resilient, and disinformation poses a threat to CISA's ability to do its mission. Therefore, CISA
                   needs to work with a range of actors on developing best practices for countering MDM threats.

•   - h a n k e d the subcommittee members and adjourned the meeting.


    Action Items
•   - . . . , i l l updated the draft MOM recommendations to include the quote f r o m - n d send the
    updated draft to                 by Wednesday, June 15.
•   MDM Subcommittee members will identify the next meeting date for late July 2022.
•   Mr. Hale will continue to determine the next steps for outreach to Congress on the Subcommittee's work.




    CSAC MDM Subcommittee                         June 1.4, 2022                                                       3




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Attendees*
Participants
Name                                          Organization
                                              University of Washington
                                              Twitter
                                              CISA
                                              CSIS
                                              Illinois Emergency Management Agency (IEMA)
Ms. Kim Wyman                                 CISA


Other Meeting Attendees
Name                                          Organization
                                              CSIS
                                              JP Morgan Chase

Government and Contractor Support
Name                                          Organization
                                              CISA
                                              TekSynap




*Meeting was held via l'rnmslte/econjerence




CSAC MDM Subcommittee                         June 1.4, 2022                                         4




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                     EXHIBIT "B"
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    Protecting Critical Infrastructure from Misinformation & Disinformation Subcommittee
    Meeting
    March 1, 2022


    Purpose of Meeting
•   The purpose of the CISA Cybersecurity Advisory Committee (CSAC) Protecting Critical Infrastructure from
    Misinformation & Disinformation (MDM) Subcommittee meeting was to receive a briefing from Ms. Laura
    Dehm low, Section Chief, FBl's Foreign Influence Task Force (FITF), regarding t11e FBl' s Roles and Responsibilities
    in Combating Foreign Influence.


    Discussion
•                     Designated Federal Officer (DFO) for the CSAC and the MDM Subcommittee brought the
    meeting to order and turned the meeting over to the Chair,

•                                                                                 niversity of Washington, MOM
    Subcommittee Chair, introduced Ms. Dehm low to provide an overview of the FITF's mission charter.

•   Ms. Dehmlow proceeded to give background on the FITF with its start in 2016, focusing on the Russia.n influence
    on the elections and then based on mission scope, became an eighty-person organiz:ation within the FBl's
    Counter Intelligence Division. The office established t he charter of Foreign Malign Information (FMI), which is
    subversive data utilized to drive a wedge between t l1e populace and t he government. Categories of MOM the FBI
    addresses are:

                o   Undeclared - covert intelligence and activities are not transparent
                o   Criminal - cyber violations or election crimes such as voter suppression
                o   Coercive Activity - attempting family, political, or economic coercion
                o   Foreign Actors - FTIF focuses on "actors" and "activities•, not content

    The FTIF engages with policy makers on the Hill and with appropriate partners for information exchange. It also
    works with the Department of Justice (DOJ) related to what does and does not apply based on the Foreign Agents
    Registration Act (FARA).

•   - h a n k e d Ms. Dehmlow and opened up the meeting for questions and comments by the
    Subcommittee Members.
             o - a s k e d for verification from Ms. Dehm low that MOM is only monitored or under the
                 purview of the FBI/FTIF based on the c o n n e c ~ n or Criminal activity. FBI does not
                 perform narrative or content-based analysis . ......ilthought CISA might have a role based
                 on the Subcommittee helping to define the narrative so the "whole of government" approach
                 could be leveraged.
             o - f u r t h e r asked if there were adequate laws in place around MDM related to elections
                 in order for the FBI to pursue misinformation. Ms. Dehmlow mentioned there were adequate laws


    CSAC MDM Subcommittee                           March 1 , 2022                                                     1.
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                    in place particularly related to threats of violence at polling locations and interstate harassment;
                    however, integrity of election results might be another matter.
                o   There was discussion between team members related to organizational information sharing
                    between public/private sector; how to collaborate across channels; driving resiliency building and
                    education about MOM: with FBI focused on foreign efforts, how do we disentangle foreign actors
                    embedded in the MOM process; and, what is the government's strategic approach related to
                    MOM? Ms. Dehm low was asked to provide her thoughts or to define a goal for approaching MOM
                    and she mentioned "resiliency". She stated we need a media infrastructure that is held
                    accountable; we n e e ~ u l a c e ; and that today, critical thinking seems to be
                    a problem currently. - - - - S e n i o r Advisor for Homeland Security and Director
                    of the Defending Democratic Institutions Center for Strategic and International Studies (CSIS),
                    stated that civics education should be provided at all ages.

•   - s k e d the members for additional comments with regards to the Subcommittee's way forward. A
    series of questions was identified in order to move toward providing an approach or recommendation on MOM.
                o                  mentioned, "How do we get to push the envelope to obtain traction in this area?
                    ~ t e social media monitoring for the government?'
                o ~ v i s o r, Illinois Homeland Security, and Director, Illinois Emergency
                    Management Agency (IEMA) asked, "Who is doing the analysis and llas the reach of MOM?"
                o Ms. Kirn Wyman, Senior Election Security Lead, CISA, identified a study out of Stanford University
                    and stated a recommendation was for social media companies not to promote MDM actors,
                    which would reduce the promulgation of information from these people.
                o                      Legal, Public Policy, and Trust and Safety Lead, Twitter, stated Twitter utilizes a
                    "three strike system" to de-amplify bad actors.

•   The next meeting date was set for March 15 and the meeting was adjourned.




    CSAC MDM Subcommittee                           March 1 , 2022                                                       2
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Attendees*
Participants
Name                                         Organization
                                             University of Washington
                                             Twitter
                                             CISA
                                             CSIS
                                             Illinois Emergency Management Agency (IEMA)
Ms. Kim Wyman                                CISA

Other Meeting Attendees
Name                                         Organization
Ms. Laura Dehmlow                            FBI
                                             CISA
                                             CSIS
                                             IEMA
                                             CISA
                                             JP Morgan Chase


Government and Contractor Support
Name                                         Organization
                                             CISA
                                             MountChor Technologies
                                             TekSynap
                                             MountChor Technologies
                                             Arcfield
                                             Arcfield
                                             TekSynap
                                             Arcfield




*Meeting was held via Teams/teleconference


CSAC MDM Subcommittee                        March 1 , 2022                                         3
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                                                            1                                              Certificate of Service

                                                            2   I, the undersigned, do declare that I am employed in the county aforesaid, that I am over the age of
                                                                [18] years and not a party to the within entitled action; and that I am executing this proof at the
                                                            3   direction of the member of the bar of the above entitled Court. The business address is:
                                                            4
                                                                                                        JW Howard Attorneys LTD
                                                            5                                             701 B Street, Ste. 1725
                                                                                                        San Diego, California 92101
                                                            6

                                                            7           □      MAIL. I am readily familiar with the business’ practice for collection and processing
                                                                of correspondence for mailing via the United States Postal Service and that the correspondence
                                                            8   would be deposited with the United States Postal Service for collections that same day.
                                                            9           ■      ELECTRONIC. I am readily familiar with the business’ practice for collection and
                                                                processing of documents via electronic system and said documents were successfully transmitted via
                                                           10   Court’s transmission that same day.

                                                           11   On the date indicated below, I served the within:
JW HOWARD/ ATTORNEYS, LTD.




                                                           12
                                                                SECOND SUPPLEMENTAL DECLARATION OF SCOTT J. STREET IN
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   SUPPORT OF PLAINTIFF DR. NAOMI WOLF’S MOTION FOR
                                                                INDICATIVE RULING UNDER FED. R. CIV. P. 60 BASED ON NEWLY
                                                           14
                                                                DISCOVERED EVIDENCE
                                                           15
                                                                TO:
                                                           16
                                                              John P. Coale: johnpcoale@aol.com                     Peter W. Homer: PHomer@homerbonner.com
                                                           17 Andrei Dan Popovici: andrei@apatent.com               Ari Holtzblatt: ari.holtzblatt@wilmerhale.com
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                                                              Richard Polk Lawson:                                  Indraneel Sur: indraneel.sur@usdoj.gov
                                                           22 rlawson@gardnerbrewer.com
                                                              Rowland A. Paul: rpaul@ibolaw.com
                                                           23

                                                           24          I declare under penalty of perjury, under the laws of the State of California, that the
                                                                foregoing is true and correct and was EXECUTED on November 3, 2022, at San Diego, CA.
                                                           25
                                                                                                        _________/s/ Dayna Dang_________
                                                           26                                                 Dayna Dang, Paralegal
                                                                                                          dayna@jwhowardattorneys.com
                                                           27

                                                           28
                                                                                                          Certificate of Service
                                                                 Second Supp. Dec. of Scott J. Street                                          CASE NO. 20-CV-09300-AGT
